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       The Parties’ Delaware Litigation
        On August 31, 2021, the U.S. District Court for the District of Delaware issued an opinion
holding that Eagle’s ANDA, as it stands, would not infringe Par’s asserted patents (U.S. Patent
Nos. 9,744,209 and 9,750,785). See Par Pharms., Inc. v. Eagle Pharms, Inc., C.A. No. 1:18-cv-
00823-CFC-JLH, ECF No. 300 (D. Del. Aug. 31, 2021). On September 16, 2021, the Court entered
a Final Judgment of non-infringement. Par Pharms., ECF No. 305 (D. Del. Sept. 16, 2021). On
September 22, 2021, Par filed its notice of appeal, which has been docketed and is pending before
the U.S. Court of Appeals for the Federal Circuit. See Par Pharms., C.A. No. 2021-2342 (Fed.
Cir.).


                                             Respectfully submitted,

                                             Liza M. Walsh

                                             Liza M. Walsh


cc:    All Counsel of Record (via ECF and Email)
